            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE EIGHTH CIRCUIT


STATE OF MISSOURI, et al.,
      Plaintiffs-Appellees / Cross-
    Appellants,
                                                             Nos. 24-2332,
             v.
                                                               24-2351
JOSEPH R. BIDEN, JR., et al.,
      Defendants-Appellants / Cross-
    Appellees.


            EMERGENCY MOTION FOR CLARIFICATION

      Defendants-cross-appellees (collectively, the Department) move for

clarification of the scope of the injunction pending appeal issued by this

Court. The Department respectfully requests that the Court rule on this

motion by Friday, August 16, 2024, to avoid further disruption of student-

loan programs unrelated to this litigation and to facilitate the Supreme

Court’s review of the Department’s forthcoming application to vacate the

injunction pending appeal.1


      1
        The Court’s clarification will also assist the parties in the parallel
Alaska litigation in responding to the Tenth Circuit’s order to submit
supplemental briefs “defining the scope of the Eighth Circuit’s injunction”
and explaining how it might affect the Alaska case. Order, Alaska v. U.S.
Dep’t of Educ., Nos. 24-3089 & 24-3094 (Aug. 12, 2024) (ordering briefs to be
filed by noon MDT on August 19).



   Appellate Case: 24-2332    Page: 1   Date Filed: 08/12/2024 Entry ID: 5423611
     This litigation involves a challenge to a rule adopted by the

Department entitled Improving Income Driven Repayment for the William

D. Ford Federal Direct Loan Program and the Federal Family Education

Loan (FFEL) Program, 88 Fed. Reg. 43,820 (July 10, 2023) (the Final Rule).

As the government previously explained, the Final Rule made various

changes to the REPAYE plan, a previously existing income contingent

repayment plan, and provides that this newly amended version of REPAYE

could also be referred to as the SAVE plan. But the Final Rule did more

than amend specific regulations governing REPAYE. Rather, as explained

by the Department, the Final Rule adopted new regulations that “streamline

and standardize the Direct Loan Program repayment regulations by

categorizing repayment plans into three types”: “(1) fixed payment

repayment plans,” “(2) income-driven repayment (IDR) plans,” which include

both income contingent repayment (ICR) plans and income-based repayment

(IBR) plans, and “(3) the alternative repayment plan.” 88 Fed. Reg. at

43,820. Thus, the regulatory text adopted by the Final Rule governs all three

types of repayment plans. See id. at 43,899-905. The Final Rule also makes

various changes that apply to IBR plans and to ICR plans other than

REPAYE (i.e., the original ICR plan and PAYE), including amending the


                                      2

  Appellate Case: 24-2332   Page: 2   Date Filed: 08/12/2024 Entry ID: 5423611
regulatory definition of “family size,” see id.at 43,856 (“The new family size

definition . . . will apply to the PAYE, IBR, and [original] ICR plans.”),

eliminating “burdensome and confusing” requirements relating to annual

income recertification, id. at 43,865 (explaining that the Department

“simplif[ied] the annual income recertification process” for all “borrowers in

IDR plans”), and crediting periods of deferment caused by cancer treatment

and military service toward forgiveness, id. at 43,903 (providing that “cancer

treatment” and “military service” deferments will count towards forgiveness

under “all IDR plans”); see generally id. at 43,898 (“The Department

amended [34 C.F.R.] § 685.209 to include regulations for all of the IDR

plans . . . . These amendments include changes to the PAYE, REPAYE, IBR

and ICR plans.”).

      This Court’s injunction pending appeal provides that “for any borrower

whose loans are governed in whole or in part by the terms of” the Final Rule,

the Department is “enjoined from any further forgiveness of principal or

interest, from not charging borrowers accrued interest, and from further

implementing SAVE’s payment-threshold provisions.” Op. 9. Because the

Final Rule promulgates regulatory text that governs all ICR and IBR plans,

the text of the injunction could be understood to prohibit all forgiveness—


                                       3

   Appellate Case: 24-2332   Page: 3   Date Filed: 08/12/2024 Entry ID: 5423611
regardless of the underlying authority—for any borrower enrolled in one of

these plans. For example, borrowers enrolled in an ICR plan may become

eligible for Public Service Loan Forgiveness (PSLF), see 20 U.S.C.

§ 1087e(m), but the injunction could be understood to prohibit forgiveness

because those borrowers’ loans are governed at least in part by the Final

Rule.

        The Department does not believe, however, that the Court intended to

sweep so broadly. For example, elsewhere in the opinion, the Court stated

that Congress had imposed a “clear statutory requirement that loans in

certain programs, such as IBR plans, be canceled.” Op. 7; see 20 U.S.C.

§ 1098e(b)(7). Both plaintiffs and the district court have identified the PSLF

program as another example. See Mot. Injunction Pending Appeal 7; R. Doc.

35, at 5-6, 44-45.2 This Court also stated that “borrowers who have remained

in PAYE . . . are not impacted” by plaintiffs’ request for injunctive relief. Op.




        2
       Notably, plaintiffs have never sought to enjoin forgiveness under IBR
or PSLF. See R. Doc. 48, at 2 (“Defendants may still, of course, use
authority other than ICR authority to forgive loans, such as authority under
the Income-Based Repayment program and the Public Service Loan
Forgiveness program.”).
                                        4

   Appellate Case: 24-2332   Page: 4   Date Filed: 08/12/2024 Entry ID: 5423611
9.3 The Department therefore believes that the Court did not intend to

enjoin either (1) loan forgiveness offered under statutory authorities other

than ICR (such as IBR or PSLF), or (2) loan forgiveness offered to

borrowers enrolled in previously existing ICR plans (i.e., the original ICR

plan or PAYE) on timelines established as part of those plans. Rather, in

light of the full opinion, the Department understands the Court’s objective

with respect to forgiveness to be an injunction of any forgiveness, on any

timeline, offered to borrowers enrolled in the SAVE plan (also known as

REPAYE).

      The Department respectfully seeks clarification of this Court’s order to

confirm that its understanding of the Court’s injunction is correct. The

Department further respectfully requests that this Court rule on the motion


      3
       The omitted language referred to borrowers who remain on
REPAYE, suggesting that the Court understood REPAYE and SAVE to be
different plans. In fact, SAVE and REPAYE are the same plan. See 88 Fed.
Reg. at 43,822 (explaining that the Department did not “creat[e] another
repayment plan” but rather “reform[ed] the current REPAYE plan” and
“decided to rename REPAYE” as SAVE). Thus, there are no borrowers on
REPAYE that would not be affected by an injunction directed at the SAVE
plan. The Department understands the Court to refer to borrowers on ICR
plans that do not include the features of the Final Rule specifically
challenged by plaintiffs, notably the revised payment-threshold provisions
and the shortened timeline to forgiveness for certain smaller loans.
Currently, this group consists of borrowers on the original ICR plan and
PAYE.
                                       5

   Appellate Case: 24-2332   Page: 5   Date Filed: 08/12/2024 Entry ID: 5423611
for clarification by August 16 to avoid further disruption of student-loan

programs that the Court appears not to have intended to enjoin and to

facilitate the Supreme Court’s consideration of the government’s

forthcoming application to vacate the injunction.

                                   Respectfully submitted,

                                   BRIAN M. BOYNTON
                                   Principal Deputy Assistant Attorney
                                   General

                                   MICHAEL S. RAAB
                                    /s/ Thomas Pulham
                                   THOMAS PULHAM
                                   SIMON C. BREWER
                                   SARAH N. SMITH
                                   Attorneys
                                   Civil Division, Appellate Staff
                                   U.S. Department of Justice
                                   950 Pennsylvania Ave., N.W., Room 7529
                                   Washington, D.C. 20530
                                   (202) 616-5367

       AUGUST 2024




                                       6

   Appellate Case: 24-2332   Page: 6   Date Filed: 08/12/2024 Entry ID: 5423611
                    CERTIFICATE OF COMPLIANCE

      This response to a motion complies with the type-volume limit of

Federal Rule of Appellate Procedure 27(d)(2)(A) because it contains 1,047

words. It also complies with the typeface and type-style requirements of

Federal Rule of Appellate Procedure 32(a)(5)-(6) because it was prepared

using Word for Microsoft 365 in Century Expanded BT 14-point font, a

proportionally spaced typeface.

      Pursuant to Circuit Rule 28A(h)(2), I further certify that the brief has

been scanned for viruses, and the brief is virus free.



                                            /s/ Thomas Pulham
                                            Thomas Pulham




   Appellate Case: 24-2332   Page: 7   Date Filed: 08/12/2024 Entry ID: 5423611
                      CERTIFICATE OF SERVICE

     I hereby certify that on August 12, 2024, I electronically filed the

foregoing with the Clerk of the Court by using the appellate CM/ECF

system. Participants in the case are registered CM/ECF users, and service

will be accomplished by the appellate CM/ECF system.

                                           /s/ Thomas Pulham
                                           Thomas Pulham




  Appellate Case: 24-2332   Page: 8   Date Filed: 08/12/2024 Entry ID: 5423611
